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                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                Chapter 11

 TOUGH MUDDER INCORPORATED;
 TOUGH MUDDER EVENT PRODUCTION                         Case No. 20-10036 (CSS)
 INCORPORATED                                          Case No. 20-10037 (CSS)


                         Debtors.




                     ORDER APPROVING THE APPOINTMENT OF
                   DEREK C. ABBOTT, ESQ. AS CHAPTER 11 TRUSTEE

                The Court having considered the Application of the United States Trustee for Entry

of an Order Approving the Appointment of Derek C. Abbott, Esq. as chapter 11 trustee in the

above-captioned cases, therefore, it is

                ORDERED, that the appointment is approved.




          Dated: January 30th, 2020
                                               CHRISTOPHER S. SONTCHI
          Wilmington, Delaware
                                               UNITED STATES BANKRUPTCY JUDGE
